 Case 3:22-cv-00197-MMH-JBT Document 1 Filed 02/22/22 Page 1 of 5 PageID 1




                                                                       IN THE CIRCUIT COURT, FOURTH
                                                                       JUDICIAL CIRCUIT, IN AND FOR
                                                                       NASSAU COUNTY, FLORIDA

                                                                       CASE NO.: 22CA000024

 ROBERT G. GORMAN, III and SHELBY
 GORMAN,

       Plaintiffs,

 v.

 TIDEWATER EQUIPMENT COMPANY and
 JASON CARLOS KIMBRELL, JR.,

      Defendants.
 _______________________________/

                          DEFENDANTS’ NOTICE OF REMOVAL

       TO: THE UNITED STATES DISTRICT COURT FOR THE MIDDLE
       DISTRICT OF FLORIDA, JACKSONVILLE DIVISION

       Defendants, TIDEWATER EQUIPMENT COMPANY and JASON CARLOS

KIMBRELL, JR. by and through their undersigned counsel, and pursuant to 28 U.S.C. §

1331, § 1441, § 1446 and Local Rule 4.02, hereby remove this action which is styled Robert

G. Gorman III and Shelby Gorman v. Tidewater Equipment Company and Jason Carlos

Kimbrell, Jr. and designated Case No.: 2022-CA-000024 in the Circuit Court for the Fourth

Judicial Circuit in and for Nassau County, Florida, in which the action is now pending, to

the United States District of Florida, Jacksonville Division. In support of this removal and

pursuant to 28 U.S.C. §1446, Defendants state:



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 Case 3:22-cv-00197-MMH-JBT Document 1 Filed 02/22/22 Page 2 of 5 PageID 2




   1. This case is properly removable due to diversity of citizenship between Plaintiffs

and Defendants. At all times material hereto, Plaintiffs were and are citizens and residents

of the State of Florida. Defendant, Tidewater Equipment Company is a foreign corporation

with its principal place of business in the State of Georgia and Defendant, Mr. Kimbrell is

a resident of the State of Georgia. Defendants are not residents of the forum state.

Accordingly, this Notice of Removal is founded and based upon complete diversity

citizenship between all parties pursuant to 28 U.S.C.A. § 1332 and 28 U.S.C.A. § 1441, et

seq.

   2. Venue is proper in the Jacksonville Division of the Middle District of Florida.

Pursuant to Local Rule 1.02(b)(1), this case was filed by Plaintiffs in State Court in Nassau

County and Plaintiffs’ causes of action accrued in said county. See also 28 U.S.C.A. §

1441(a).

   3. Defendants have filed with the Clerk of the Circuit Court for the Fourth Judicial

Circuit, in and for Nassau County, Florida, a true and correct copy of the Notice to State

Court Clerk of Removal of Case to Federal Court, pursuant to 28 U.S.C.A. §1446(b).

   4. Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, orders and other

paper or exhibits of every kind from the State Court Action are being filed herewith, as

Exhibit A.

   5. Defendant may use a variety of documents, including a written settlement demand,

as an “other paper” under 28 U.S.C. §1446 (b) to determine if the case is removable.

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 Case 3:22-cv-00197-MMH-JBT Document 1 Filed 02/22/22 Page 3 of 5 PageID 3




Essenson v. Coale, 848 F. Supp. 987, 989-90 (M.D. Fla. 1994). Plaintiffs previously

demanded $750,000; therefore, the amount in controversy is met. Martin v. Mentor Corp.,

142 F. Supp. 2d 1346, 1349 (M.D. Fla. 2001). Such demand is attached as Exhibit B.

   6. This Notice of Removal is hereby filed within thirty (30) days from Plaintiffs’

service of the Complaint on both Defendants. See 28 U.S.C. § 1446 (b) (1).

   7. There are no other Defendants as named parties in this action, thus there are no other

Defendants from which consent needs to be obtained to remove this action.

   8. There are not presently any pending motions or orders in the State Court action.

   9. The allegations set forth in this Notice of Removal are true and correct to the best

of the knowledge and belief of the undersigned counsel. The undersigned counsel is the

attorney for Defendants and has been specifically authorized to act on behalf of Defendants

in seeking removal of this cause to the United States District Court Middle District of

Florida, Jacksonville Division. Further, the undersigned is a licensed attorney in the State

of Florida and authorized to practice in the United States District Court, Middle District of

Florida.

   WHEREFORE, the Defendants, TIDEWATER EQUIPMENT COMPANY and

JASON CARLOS KIMBRELL, JR. hereby provide Notice of Removal of this cause from

the Circuit Court for the Fourth Judicial Circuit, in and for Nassau County, to the United

States District Court for the Middle District of Florida, Jacksonville Division.

       Respectfully submitted this 22nd day of February, 2022.

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 Case 3:22-cv-00197-MMH-JBT Document 1 Filed 02/22/22 Page 4 of 5 PageID 4




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                                              By: s/ Sami R. Achem
                                                        SAMI R. ACHEM
                                                        Florida Bar No.: 93892


                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 22nd day of Febraury 2022 a true and correct

copy of the foregoing was filed with the Clerk of Court for the United States District Court

for the Middle District of Florida, Jacksonville Division, and served electronically to all

parties of record.




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Case 3:22-cv-00197-MMH-JBT Document 1 Filed 02/22/22 Page 5 of 5 PageID 5




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